Case 1:19-mj-02251-JMC Document 2 Filed 07/05/19 Page 1 of 1

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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA
Vv.
DARRYL ALBERT VARNUM,

Defendant

ive

MOTION. TO SEAL Cl
AND SUPPORT

19-2251 JMC

CRIMINAL NO.

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yw

UNDER SEAL
* UNDER SEAL

fe eck tr oy

RIMINAL COMPLAINT
ING AFFIDAVIT

The United States of America, by its undersigned attorneys, for the following reasons,

moves this Honorable Court te order and dir

Affidavit in the above-captioned case should b

docket or otherwise be known to the public at tl
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In support of this motion, the governmer

and that the target is not aware of the existence

the Criminal Complaint or the supporting affida

the ongoing federal investigation.
WHEREFORE, the government respect

affidavit in support of thereof, together with ¢

made express in the order, be placed under seal

CA Al

ect that the Criminal Complaint and supporting
e SEALED, and should not appear on the public
his time.

isubmits that the criminal investigation is ongoing
of the investigation. Any premature disclosure of

vit could endanger federal agents and compromise

fully requests that the Criminal Complaint and the
his motion and the Court's reasons for sealing, if

until further of this Court.

  
   

ENTERED
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Respectfully submitted, FO Dae
| Robert K. Hur UL 05 2018
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0. Gavin
Assistant United States Attorney

 

 
